Case 15-20710   Doc 21-2   Filed 02/11/16 Entered 02/11/16 13:45:32   Desc Exhibit
                                     Page 1 of 6
Case 15-20710   Doc 21-2   Filed 02/11/16 Entered 02/11/16 13:45:32   Desc Exhibit
                                     Page 2 of 6
Case 15-20710   Doc 21-2   Filed 02/11/16 Entered 02/11/16 13:45:32   Desc Exhibit
                                     Page 3 of 6
Case 15-20710   Doc 21-2   Filed 02/11/16 Entered 02/11/16 13:45:32   Desc Exhibit
                                     Page 4 of 6
Case 15-20710   Doc 21-2   Filed 02/11/16 Entered 02/11/16 13:45:32   Desc Exhibit
                                     Page 5 of 6
Case 15-20710   Doc 21-2   Filed 02/11/16 Entered 02/11/16 13:45:32   Desc Exhibit
                                     Page 6 of 6
